         Case: 1:21-cv-03903 Document #: 1-1 Filed: 07/22/21 Page 1 of 14 PageID #:3

     Exhibit A (Page 01 of 14)
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       Name all Parties




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                                                                      Case No.                                              C''             ~
       CITY OF CHICAGO et al.,
                                                                                                                           ~-C~, .~
                                                     Defendants)                                                           r~     -v        ,~'
                                                                                                                           m
       Anna M. Valencia, City Clerk, 121 North                                                                                              a~~
                                                                                                                           ~~     W
                                                                                                                       •    ~     ~         ~
       LaSalle Street, Room 107, Chicago, IL 6t?602
                                                                                                                                  +0~
                                Address of Defendants)
       Please serve as follows (check one):           ~'~ Certified Mail     C~~ Sheriff Service   C'~ Alias
                                                            SUMMONS
       To each Defendant:
       You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
       You are summoned and required to file your appearance, is the office of the clerk of this rnurt,
       within 30 days after service of this surninons, not counting the dap of service. If qou Earl to do so, a
       judgment by default map be entexed against you for the relief asked in the complaint.
                        THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
       To file your writtea appearance/answer YOU DO NOT NEED TO COME TO THE
       COURTHOUSE. You will need: a computer with Internet access; an email address; a completed
       Appearance form that can be found at http:/ jwww.illinoiscourts.govJForms/approved/procedures/
       appearance.asp; and a credit card to pap any required fees.




                     Iris Y. MacHnez, Clerk of the Circuit Court of Cook County, Illinois
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              Case: 1:21-cv-03903 Document #: 1-1 Filed: 07/22/21 Page 2 of 14 PageID #:4

        Exhibit A (Page 02 of 14)                                                                           i i i i iii iiii iiii iiii ii iiii i i i i i i
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     E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
     service provider. Visit http:/ jefile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
     provider.
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op   If you need additional help or have trouble e-Cling, visit http://wwavillinoiscourts.gov/fay/gethelp.asp or talk with
     pour local circuit clerk's office. If you cannot e-file, you map be able to get an exemption that allows you to file in-
N    person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
     If you axe unable to pay your court fees, you can apply for a fee waiver. For information about defending
     yourself in a court case (including filing an appearance or fee waivex), or to apply for free legal help, go to www
     illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
     Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
     date AND for information whether your hearing will be held by video conference or b~ telephone. The Clerk's
     office is open Mon -Fri, 830 1tn - 4:30 pm, except for court holidays.
     NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
           appearance by. You may file your appearance form by efiling unle$s you are exempted.
     A court date will be set in the future znd you will be notified by email (either to the email address that you used to
     register for efiling, or that you provided to the clergy's office).
     CONTACT THE CLER%'S OFFICE for informarion iegatding COURT DATES by visiring our webaite:
     cookcountycterkofcourt.otg; download our mobile app from the AppStore of Google play, or contact the
     apptopciate clack's office locatioa listed on Page 3.
     To the officer: (Sheriff Service)
     This summons must be returned by the officer or other person to whom it was given for service, with endorsement
     of service and fees, if any, irrrmeciiately after service. If service cannot be made, this summons shall be returned so
     endorsed. This sununons may not be served later than thirty (30) daps after its date.




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     ~ Atty. No.: 60626                                             Witness date
     ~ Pro Se 99500                                                         6/24/2021 1:10 PM IRIS Y. MARTINEZ                       e~'             ~~

     Name: ~o Walsman                                                                                                                p~.            ? ~'t~

     Atty. for (if applicable):                                                 IRIS Y. MARTIl~TEZ, Clerk of Court                     * COpNt'~~``~

     Plaintiff                                                      ❑ Service by Certified Mail:

     Address: X61 N. Clark St., Suite 2500                          D Date of Service.
                                                                       (To be inserted by officer oa copy left avith employer or other person)
     City: Chicago

     State:   II'    Zip: 60601

     Telephone: (312) 313-003
     P~a~ ~~; arlo@arlolawoffice.com


                            Iris Y. Martinez, C(erk of the Circuit Court of Cook County, Illinois
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              Case: 1:21-cv-03903 Document #: 1-1 Filed: 07/22/21 Page 3 of 14 PageID #:5

        Exhibit A (Page 03 of 14)
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                            GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

     CA_i_.L- OR SEND 1~N E1VLAii_ MESSAGE to the telephone number or court date email address below for the
     appropriate division, district or department to request your neat court date. Email your case numbex, or, if you do
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     Court date EMAIL: LawCourtDate@cookcountycourt.com
     Gen. Info: (312) 603-5426
                  PROBATE DIVISION
     Court date EMAIL: ProhCourtDate@cookcountycourtcom
     Gem. Info: (312} 603-6441




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                               IN THE CIRCUIT COURT OF COOg COUNTY, ILLINOIS

       Name all Parties

       CORNELL BRISCO


                                                 Plaintiffs)
                                  4.
                                                                Case No.
       CITY OF CHICAGO et al.,


                                               Defendants)
       Anna M. Valencia, City Clerk, 121 North
       LaSalle Street, Room 107, Chicago, IL 60602

                                  Address of Defendants)
       Please serve as follows (checlz one):    ~"~ Certified Mail     C+~ Sheriff Service C', Alias
                                                      SUMMONS
       To each Defendan#:
       You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
       You are sutni~.xoned and regtured to file your appearance, is the office of the clerk of this mart,
       within 30 daps after service of this summons, not counring the day of service. If you fail to da so, a
       judgment by default map be entered against you for the relief asked in the complaint.
                           THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
       To file your written appearanceJanswer POU DO NOT NEED TO COME TO THE
       COURTHOUSE. You will need: a computer with Internet access; an email address; a completed
       Appearance form that can be found at http://www.illiaoiscourts.gov/Forms/approved/procedures/
       appeatance.asp; and a credit card to pap any required fees.



                         Ids Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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              Case: 1:21-cv-03903 Document #: 1-1 Filed: 07/22/21 Page 5 of 14 PageID #:7

        Exhibit A (Page 05 of 14)
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     E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
     service provider, Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
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     If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk with
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J    pour local circuit clerk's office. If you cannot e-file, you map be able to get an exemption that allows you to file in-
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     person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
     If you aze unable to pay your court fees, you can apply for a fee waiver. For information about defending
     yourself in a court case (including filing an appearance or fee waivex), or to apply for free legal help, go to www.
     illinoislegalud.org. You can also ask your local circuit clerk's office for a fee waiver application.
     Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
     date r1I~1D for information whether your hearing will be held by video conference or by telephone. The Clerk's
     office is open Mon -Fri, 8:30 un - 4:30 pm, except for court holidays.
     NOTE: Your appeazance date is NOT a court dAte. It is the date that you have to file your completed
           appearance by. You may file your appearance form by efiling unless you are exempted.
     A court date will be set in the future znd you will be notified by email (either to the email address that you used to
     register for efiling, or that you provided to the clergy's office).
     CONTACT THE CLERB'S OFFICE for informarion regarding COURT DATES by visiting our webaite:
     cookcountyclerkofcourt.otg; download our mobile app from the AppStore or Google play, or contact the
     appropriate clerk's office location listed on Page 3.
     To the officer: (Sheriff Service)
     This summons must be returned by the officer or other person to whom it was given for service, with endorsement
     of service and fees, if any, urimeciiately after service. If service cannot be made, this summons shall be returned so
     endorsed. This stunmons may not be served later than thirty (30) days after its date.




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     ~' Atty. No.: 60626                                             Witness date                                                  _~~~_Q
     ~ Pro Se 99500                                                      6/24/2021 1:10 PM IRIS Y. MARTINEZ                       e:'   ~         ~
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     Name: ~o Walsman                                                                                                              A`             ti

     Atty. for (if applicable):                                                  IRIS Y. MARTINEZ, Clerk of Court ~ ~ouNi `~
     Plaintiff                                                      ❑ Bernice by Certified Mail:

     Address: 161 N. Clark St., Suite 2500                          ❑ Date of Service:
                                                                        (to be inserted by officer on copy left with employer or other person}
     City: Chicago

     State:   IL     ZiP: 60601

     Telephone:     312) 313-0035

     P~a~ ~~: arlo@arlolawoffice.com


                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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   Exhibit A (Page 06 of 14)
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not have pour case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
and birthdate for a criminal case.


            CHANCERY DIVISION
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                CIVIL DIVISION                              Gen. Info:   (84~ 470-7250
Court date EMAIL: CivCourtDateQcookcountycourt.com                DISTRICT 3 - RO .i.TN[` MEADOWS
Gen. Info: (312) b03-5116                                   Court date EMAIL: D3CourtDateQcookcountycourt.com
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Gen. Info:    (312) 603-6300                                             DIST iCT 6 -         ARKHAM

            DOMESTIC VIOLENCE                               Court date EMAIL: D6CourtDate@cookcountycourt.com
Court date EMAIL: DVCourtDateQa cookcountycourt.com         Gen. Info: (708) 232-4551
Gen. Info: (312) 325-9500

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Court date EMAIL: LawCourtDate@cookcountycourt.com
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                     Iris Y. Ms~rdnez, Clerk of the Circuit Court of Cook County, Illinois
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     Case: 1:21-cv-03903 Document #: 1-1 Filed: 07/22/21 Page 7 of 14 PageID #:9

Exhibit A (Page 07 of 14)
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                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS IRIS Y. MARTINEZ
                       COUNTY DEPARTMENT. LAW DIVISION         CIRCUIT CLERK
                                                               COOK COUNTY, IL
                                                               2021L006497
CORNELL BRISCO,

        Plaintiff,

                v.                                              Case No.

CITY OF CHICAGO, a municipal corporation,
Officer XENIA ORDONEZ (Star 18259),
Officer KAMIL WAZNY (Star 6414),
Officer EDGAR ESCOBAR (Star 6967), and
Officer EDUARDO HERNANDEZ (Star 6838),
in their individual capacities,

        Defendants.

                                            COMPLAINT

        Plaintiff, Cornell Brisco, by his attorney, Arlo Walsman of the Arlo Law Office, hereby

brings the following Complaint against Defendants, the City of Chicago, Officer Xenia Ordonez,

Officer Kamil Wazny, Officer Edgar Escobar, and Officer Eduardo Hernandez.

                             FACTS COMMON TO ALL COUNTS

       1.       Plaintiff is a resident of Chicago, Illinois.

       2.       Defendant City of Chicago is a municipal corporation in Cook County, Illinois.

       3.       Upon information and belief, Defendants Ordonez, Wazny, Escobar, and

Hernandez are residents of Chicago, Illinois.

       4.       Defendants Ordonez, Wazny, Escobar, and Hernandez are sued in their individual

capacities.

       5.       At all times relevant to this Complaint, Defendants Ordonez, Wazny, Escobar,

and Hernandez were Officers of the Chicago Police Department and were employees of the City

of Chicago.



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Exhibit A (Page 08 of 14)
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       6.      At all times relevant to this Complaint, Defendants Ordonez, Wazny, Escobar,

and Hernandez were acting in the course and scope of their duties as police officers and

employees of the City of Chicago.

       7.      On July 3, 2020, Plaintiff was at or near 5633 West Washington Boulevard in

Chicago, Illinois.

       8.      On July 3, 2020, Defendants Ordonez, Wazny, Escobar, and Hernandez were on

duty and responded to a call of suspected criminal activity at or near 5633 West Washington

Boulevard in Chicago, Illinois.

       9.      When Defendants Ordonez, Wazny, Escobar, and Hernandez arrived at 5633

West Washington Boulevard, one or more of the individual Defendant officers handcuffed

Plaintiff's arms and legs, searched him, arrested him, and put him into a Chicago Police

Department vehicle.

       10.     After Plaintiff's arms and legs were handcuffed, one or more of the individual

Defendant officers forcefully threw Plaintiff onto the ground.

       11.     When Plaintiff was thrown to the ground, he struck his head and body on the

ground and was injured.

       12.     Just prior to Plaintiff being placed in a Chicago Police Department vehicle, one or

more of the individual Defendant officers forcibly pushed Plaintiffs head and body against the

exterior of the Chicago Police Department vehicle, injuring Plaintiff.

       13.     At no time did Plaintiff resist or obstruct the individual Defendant officers.

                                            COUNT 1

              Plaintiff v. Defendants Ordonez, Wazny, Escobar, and Hernandez

                     (42 U.S.C. 1983, Excessive Force in Making an Arrest)



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   Case: 1:21-cv-03903 Document #: 1-1 Filed: 07/22/21 Page 9 of 14 PageID #:11

Exhibit A (Page 09 of 14)
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        1-13.   Plaintiff realleges and incorporates paragraphs 1-13 of his Complaint as if fully

set forth herein.

        14.     On July 3, 2020, Defendants used unreasonable force during the arrest of Plaintiff

in violation of his Fourth Amendment rights.

        15.     The force Defendants used against Plaintiff was unreasonable because:

        (a)     Plaintiff was searched and handcuffed prior to Defendants' use of excessive force.

        (b)     Plaintiff did not pose any threat to the safety of Defendants or other individuals at
                the scene.

        (c)     Plaintiff never resisted arrest or attempted to flee the scene.

        (e)     Plaintiff cooperated with Defendants at all times.

       (~       The level of forced used by Defendants was not necessary to arrest Plaintiff
                or to protect police officers or members of the public from harm.

        16.     At all times relevant to this Complaint, Defendants acted under color of law.

        17.     On July 21, 2019, Plaintiff's right to be free from the type of excessive force that

Defendants used was clearly established.

        18.     Defendants' conduct was motivated by an evil motive or intent and involved a

reckless and callous indifference to Plaintiff s federally protected right to be free from excessive

and unreasonable force during an arrest.

       19.      As a direct and proximate result of Defendants' excessive force against Plaintiff,

Plaintiff sustained damages, including but not limited to bodily injuries, pain and suffering,

disability, loss of normal life, medical expenses, and emotional distress.

       Wherefore, for all the foregoing reasons, Plaintiff respectfully asks this Court to enter

judgment in his favor and against Defendants in an amount in excess of $30,000.00, plus costs

and attorney's fees, along with any other relief deemed fair and just.



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Exhibit A (Page 10 of 14)
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                                             COUNT2

                Plaintiff v. Defendants Ordonez, Wazny, Escobar, and Hernandez

                                              (Battery)

        1-19.    Plaintiff realleges and incorporates paragraphs 1-19 of his Complaint as if fully

set forth herein.

        20.      Defendants intentionally caused an unlawful, offensive, and harmful contact with

Plaintiff's person when they threw him to the ground while handcuffed and forcefully pushed his

head and body onto the exterior of a Chicago Police Department vehicle.

        21.      Defendants did in fact make an unlawful, offensive, and harmful contact with

Plaintiff's person when they threw him to the ground while handcuffed and forcefully pushed his

head and body onto the exterior of a Chicago Police Department vehicle.

       22.       Defendants' conduct was willful and wanton in that they engaged in a course of

action that showed actual or deliberate intent to harm Plaintiff, and because they consciously

disregarded Plaintiff's safety.

       23.       Defendants' conduct was willful and wanton in that they ignored an obvious risk

that Plaintiff would be injured if he were thrown to the ground while handcuffed and forcefully

pushed into the exterior of a Chicago Police Department vehicle.

       24.      As a direct and proximate result of Defendants throwing Plaintiff to the ground

and pushing his head and body onto the exterior of a Chicago Police Department vehicle,

Plaintiff was injured and sustained damages, including but not limited to bodily injuries, pain and

suffering, disability, loss of normal life, medical expenses, and emotional distress.




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Exhibit A (Page 11 of 14)
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        Wherefore, for all the foregoing reasons, Plaintiff respectfully asks this Court to enter

judgment in his favor and against Defendants in an amount in excess of $30,000.00, plus costs

and attorney's fees, along with any other relief deemed fair and just.

                                              COUNT 3

                               Plaintiff v. Defendant City of Chicago

                                  (Battery, Respondeat Superior)

        1-24.    Plaintiff realleges and incorporates paragraphs 1-24 of his Complaint as if fully

set forth herein.

        25.      On July 3, 2020, Defendant City of Chicago controlled and had a right to control

the individual Defendant Officers' conduct.

        26.      The individual Defendant Officers' conduct in throwing Plaintiff to the ground

while handcuffed and forcefully pushing Plaintiff s head and body onto the exterior of a Chicago

Police Department vehicle fell within the scope of their employment as police officers.

        Wherefore, for all the foregoing reasons, Plaintiff respectfully asks this Court to enter

judgment in his favor and against Defendant City of Chicago in an amount in excess of

$30,000.00, plus costs and attorney's fees, along with any other relief deemed fair and just.

                                              COUNT 4

                Plaintiff v. Defendants Ordonez, Wazny, Escobar, and Hernandez

                                  (Willful and Wanton Conduct)

        1-26.    Plaintiff realleges and incorporates paragraphs 1-24 of his Complaint as if fully

set forth herein.




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   Case: 1:21-cv-03903 Document #: 1-1 Filed: 07/22/21 Page 12 of 14 PageID #:14

Exhibit A (Page 12 of 14)
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        27.    On July 3, 2020, Defendants had a duty to refrain from willful and wanton

conduct during the performance of their duties as police officers.

        28.    On July 3, 2020, Defendants acted in a willful and wanton manner showing an

utter indifference to or conscious disregard for Plaintiff's safety, in one or more of the following

ways:

        (a)    Forcefizlly throwing Plaintiff to the ground and pushing his head and body onto
               the exterior of a Chicago Police Department vehicle.

        (b)    Ignoring the possibility that Plaintiff could become seriously injured if he was
               thrown to the ground while handcuffed or if his head or body was forcefully
               pushed onto the exterior of a Chicago Police Department vehicle.

        (c)    Failing to arrest Plaintiff, who was not resisting or obstructing arrest, without
               injuring him.

        29.    Defendants knew or should have known that their willful and wanton conduct as

described above would lead to Plaintiff becoming injured.

        30.    As a direct and proximate cause of Defendants' willful and wanton acts and

omissions, Plaintiff was injured and sustained damages, including but not limited to bodily

injuries, pain and suffering, disability, loss of normal life, medical expenses, and emotional

distress.

        Wherefore, for all the foregoing reasons, Plaintiff respectfully asks this Court to enter

judgment in his favor and against Defendants in an amount in excess of $30,000.00, plus costs

and attorney's fees, along with any other relief deemed fair and just.

                                             COUNT 5

                             Plaintiff v. Defendant City of Chicago

                     (Willful and Wanton Conduct, Respondeat Superior)
   Case: 1:21-cv-03903 Document #: 1-1 Filed: 07/22/21 Page 13 of 14 PageID #:15

Exhibit A (Page 13 of 14)
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        1-30.   Plaintiff realleges and incorparates paragraphs 1-30 of his Complaint as if fully

set forth herein.

        31.     On July 3, 2020, Defendant City of Chicago controlled and had a right to control

the individual Defendant Officers' conduct.

        32.     The individual Defendant Officers' willful and wanton conduct towards Plaintiff

fell within the scope of their employment as police officers.

        Wherefore, for all the foregoing reasons, Plaintiff respectfully asks this Court to enter

judgment in his favor and against Defendant City of Chicago in an amount in excess of

$30,000.00, plus costs and attorney's fees, along with any other relief deemed fair and just.

                                             COUNT 6

                             Plaintiff v. Defendant City of Chicago

                       (Indemnification Pursuant to 745 ILCS 10/9-102)

        1-32.   Plaintiff realleges and incorporates paragraphs 1-55 of his Complaint as if fully

set forth herein.

        33.     745 ILCS 10/9-102 provides in part that "[a] local public entity is empowered and

directed to pay any tort judgment or settlement for compensatory damages (and may pay any

associated attorney's fees and costs) for which it or au employee while acting within the scope of

his employment is liable in the manner provided in this Article."

        34.     Pursuant to 745 ILCS 10/9-102, Plaintiff demands that Defendant City of Chicago

indemnify the individual Defendant Officers by paying any judgment or settlement, including

any award of attorney's fees and costs, for compensatory and punitive damages for which they

are liable




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     Exhibit A (Page 14 of 14)
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             Wherefore, for all the foregoing reasons, Plaintiff respectfiilly requests that this Court

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rn   enter an order directing Defendant City of Chicago to pay any judgment or settlement, including
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     any award of attorney's fees and costs, for compensatory damages and punitive damages for
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     which the individual Defendant Officers are liable, along with any other relief deemed fair and
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                                                            Bv: /s/ ARLO WALSMAN

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